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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §            Crim. Action No. 3:22-CR-00054-N
                                                 §
 HENRY DWIGHT WILLIAMS (1)                       §

                        SENTENCING SCHEDULING ORDER

        The sentencing hearing is scheduled for October 17, 2022 at 9:30 a.m. The

probation officer must furnish the presentence report to the Court, the defendant’s counsel,

and the attorney for the government before September 12, 2022 at 5:00 p.m.

        The parties must deliver to the court, the probation officer and the opposing party

their objections, if any, to the presentence report within 14 days of the receipt of the

presentence report. If there are no objections, the party must submit a statement adopting

the report.

        The probation officer must deliver any addendum to the presentence report to the

Court, the defendant’s counsel and counsel for the government at least 14 days before the

sentencing hearing. Counsel will then have 7 days before the sentencing to deliver to the

court, the probation officer and opposing counsel any objections to the addendum.

        Defendant’s counsel shall submit any written materials, such as letters, notes and/or

other items, for consideration to the Court and the probation officer at least 7 days before

sentencing.

        Any motion regarding downward or upward departures must be filed at least 14

days before sentencing. Any response in opposition to such a motion must be filed at least

7 days before sentencing.

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      In any case in which 18 U.S.C. §§ 3663-64 apply, no later than 5 days from the date

of this order the attorney for the government must provide to the probation officer all

information that the officer needs to comply with crime victim restitution requirements.

If during the presentence report investigation, it is determined that Texas Youth

Commission (“TYC”) records are needed, the court orders the TYC to release these records

to the probation officer assigned to prepare the PSR, acting in the performance of the

officer’s official duties pursuant to Fed. R. Crim. P. 32. The specific records that are to

be released include documents pertaining to the defendant’s social history, court

disposition records, substance abuse treatment records, psychological evaluations, other

mental health treatment records, educational records, general hearth records, adjustment

while incarcerated records and release dates from the TYC. Counsel should direct any

questions regarding this Order to Carla Moore, Court Coordinator, at 214-753-2706.


      Signed July 27, 2022.




                                                            David C. Godbey
                                                       United States District Judge




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